Case 2:04-cV-02362-.]DB-STA Document 15 Filed 09/01/05 Page 1 of 2 Page|D 25

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WESTERN DISTRICT OF TENNESSEE

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SUSAN PERLMUTTER, JUDGMENT IN A CIVIL CASEl `

    
    
  

Plaintiff,
v.

.IOHN ALDEN INSURANCE COMPANY, CASE NO: 2:04-2362-B

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance With the Stipulation Of Dismissal
entered on August 25, 2005, this cause is hereby dismissed.

AP OVED:
. D NIEL BREEN
ED STATES DISTRICT COURT

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Date Clerk of Court

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(By) Deputy Clerk

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This notice confirms a copy ofthe document docketed as number 15 iii
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Honorable J. Breen
US DISTRICT COURT

